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AO 399(01/09) Waiver of the Service of Summons


                                     UNITED STATES DISTRICT COURT
                                                                      for the
                                                            District of Maryland


                   Compass Marketing, Inc.                                ~
                          Plaints
                              v.                                         )      Civil Action No. 1:22-cv-00379
Flywheel Digital, Ascential, James DiPaula &Patrick Miller               )
                         Defendant

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Steven A. Luxton, Esq.
        ( Nance ofthe plaintiff's attorney or unrepresented plaintiffl

       I have received your request to waive service of a summons in this action along with a copy ofthe complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I,or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue ofthe action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                02/16/2022            ,the date when this request was sent(or 90 days if it was sent outside the
United States). If I fail to do so, a defaultjudgment   will be entered against me or t     tity I represent.


Date:           02/18/2022
                                                                                           Signature ofthe ttorne or unrepresented party

Flywheel Digital, Ascential, James DiPaula &Patrick Miller                                          G, Stewart Webb, Jr., Esq.
      Printed name ofparty waiving service ofszrmmons                                                      Printed name
                                                                                                          Venable LLP
                                                                                                  750 East Pratt Street, Suite 900
                                                                                                   Baltimore, Maryland 21202
                                                                                                               Address

                                                                                                       gswebb@venable.com
                                                                                                           E-mail address

                                                                                                         (410)244-7565
                                                                                                          Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 ofthe Federal Rules ofCivil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofserving a summons
                                                                                                                                                     in
and complaint. A defendant who is located in the United States.and who fails to return a signed waiver of service requested by a plaintiff located
the United States will be  required to pay the expenses of service, unless the defendant shows  good cause for the failure.
                                                                                                                                                    has
          "Good cause" does not include a beliefthat the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
no jurisdiction over this matter or over the defendant or the defendant's property.
                                                                                                                                                     of
         Ifthe waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence
 a summons or of service.
                                                                                                                                    12 on the plaintiff
            Ifyou waive service,then you must, within the time specified on the waiver form, serve an answer or a motion under Rule
                                            and returning the waiver form, you  are allowed more  time to respond  than if a summons had been served.
 and file a copy with the court. By signing
